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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


JAMES P. LALLEY,

                                Plaintiff,                   NOTICE OF WITHDRAWAL OF
                                                             COUNSEL
                       v.
                                                             Civil Action No. 1:19-cv-01571-GWC
D’YOUVILLE COLLEGE,

                                Defendant.

        Pursuant to Local Rule 83.2 please take notice that Mary Moran is no longer affiliated

with the law firm Bond, Schoeneck & King, PLLC, who represents the Defendant in this

matter. Mary Moran should be removed from the docket as counsel of record for the

Defendant. The undersigned remains as lead counsel of record on behalf of Defendant.


Dated: Buffalo, New York
       June 27, 2022

                                             BOND, SCHOENECK & KING, PLLC

                                             By:   /s/ James J. Rooney
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TO:     Attorneys of Record




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